IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION SOUTHERN DISTRICT OF MISSISSIPPI
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DEPUTY

UNITED STATES OF AMERICA

v. CRIMINAL NO. 4-Cf--0d/" DPT “ASH

MICHAEL CHRISTIAN GREEN 18 U.S.C. § 242

The United States Attorney Charges:
GENERAL ALLEGATIONS

At all times relevant to this Information, unless otherwise specified:

1. Michael Christian Green (“Green”) was employed as a Patrolman with the Pearl Police
Department, in Pearl, Mississippi.

2. On December 23, 2023, Green was dispatched to a family disturbance call at the Sam’s
Club located at 90 Bass Pro Drive in Pearl, Mississippi. At the scene, Green and other officers
made contact with an adult male, B.E. As a result of the disturbance, B.E. was arrested by Green
and transported to the Pearl Police Department for booking.

3. Upon arriving at the Police Department, B.E. was placed into a holding cell by Green.
Security footage of the booking area and the holding cell showed the following:

A. B.E. knocked on the door to the holding cell. B.E. attempted to
communicate to Green that he needed to urinate. After waiting a period of time for a

response, B.E. walked to the back of the cell and urinated in a corner.
B. Green opened the door of the holding cell and moved B.E. to the booking
area.

C. Green answered the booking area telephone and was notified that B.E. had
urinated in the holding cell. Green looked at B.E. and stated, “Let me tell you somethin’.
You see this phone? I will beat your fucking ass with it. You're fixin' to go in there and
you're gonna lick that piss up. Do you understand me?”

D. Green repeated the command that B.E. “lick it up.” Green went on to tell
B.E. to “go suck it up right now.” B.E. was returned to the holding cell. While standing in
the doorway of the holding cell, Green commanded that B.E. get on the ground and “suck
it up.” Green removed his phone from his duty vest and filmed B.E. while B.E. got on the
ground and licked his urine. B.E. gagged when he made contact with the floor. In response
to B.E.’s gagging, Green told B.E., “don't spit it out.” B.E. gagged again. Green responded
to B.E.’s second gagging episode by stating, “lick that shit up. Drink your fuckin’ piss.”
B.E. gagged a third time. Green did not have a government interest or law enforcement
purpose in ordering B.E. to lick his urine.

E. B.E. was eventually allowed to leave the holding cell. After returning to the
booking area, B.E. repeatedly vomited in the booking area garbage can.

F. B.E. remained in the booking area until he was transported to the Rankin

County Detention Center in Brandon, Mississippi.
COUNT ONE

4. Paragraphs 1-3 of this Information are re-alleged and fully incorporated herein by

reference.
On or about December 23, 2023, in Rankin County, in the Northern Division of the
Southern District of Mississippi, defendant, MICHAEL CHRISTIAN GREEN, while acting
under color of law, willfully deprived B-E. of the right, secured and protected by the Constitution
and laws of the United States, not to be deprived of liberty without due process of law, which
includes the right of a pre-trial detainee to be free from conditions of confinement that amount to

punishment. All in violation of Title 18, United States Code, Section 242.

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